EXHIBIT 1
               Case 23-827, Document 15-1, 05/26/2023, 3522066, Page1 of 4




322 Eighth Avenue
Suite 1200
New York, NY 10001
+1.646-766-1914
www.seidenlaw.com
                                                              May 26, 2023
VIA ECF

Catherine O’Hagan Wolfe
Clerk of the Court
United States Court of Appeals for the Second Circuit
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

Re:       Baliga v. Shi, 23-827

Dear Ms. Wolfe,

       We write on behalf of Robert Seiden in his capacity as the Court-appointed temporary
receiver (“Receiver”) over Link Motion Inc. (“LKM”) in opposition to Vincent Shi’s (“Shi”)
“emergency” motion (“Motion”) filed yesterday seeking a stay pending appeal of an
Extraordinary General Meeting (“EGM”) of LKM shareholders scheduled to occur on May 30
and 31, 2023.

        Shi’s Motion is egregiously improper and should be denied on numerous grounds. As a
threshold matter, at approximately 8 am this morning (May 26), Shi filed an Order to Show
Cause in the District Court seeking the exact same relief – an order enjoining the EGM – that
he is seeking through the Motion. 1 The District Court has not yet ruled on Shi’s Order to Show
Cause. It is beyond peradventure that Shi cannot ask the Second Circuit to rule on a matter that
is currently pending before the District Court. Indeed, as explained further below, Shi contended
in his Motion that he should be “excused” from seeking this relief in the District Court because it
was “impracticable.” Shi’s pending Order to Show Cause in the District Court fatally undermines
that contention. Shi’s Motion should be denied for this reason alone.

         Further, there is no “emergency” here. Shi is appealing an order that the District Court
entered over two weeks ago, on May 10, 2023. There is no basis for Shi to seek “emergency”
relief from this Court when he waited until the eleventh hour (days before the EGM, and on the
eve of a holiday weekend) to seek relief. Moreover, the Motion is fatally defective on numerous
other grounds, including that (i) it fails to comply with Federal Rule of Appellate Procedure 8(a);
(ii) this Court lacks jurisdiction; and (iii) Shi failed to show irreparable harm.




1
    A copy of the Order to Show Cause (ECF 421) is attached as Exhibit 1 to this letter.
             Case 23-827, Document 15-1, 05/26/2023, 3522066, Page2 of 4




Background

        On February 1, 2019, the District Court issued an order (the “Receivership Order”)
appointing Robert Seiden as temporary Receiver over LKM. See ECF 26. The Receivership
Order directed, inter alia, that “[t]he Receiver shall assume full control of [LKM] by removing,
as the Receiver deems necessary or advisable, any director, officer . . . of [LKM] . . . from control
of, management, or participation in, the affairs of [LKM] [].” Id. at II (2)(b). Acting pursuant to
that authority, the Receiver has excluded Shi (a former director of LKM, who is not an LKM
shareholder) from any management role at LKM, including displacing Shi and all other former
LKM directors from their roles as directors of LKM.             Since that time, based upon the
Receivership Order, the Receiver has effectively assumed the functions of LKM’s board of
directors, including (as relevant here) the authority to convene an EGM. 2

        On September 15, 2022, the District Court issued an order (i) denying Shi’s motion to
enjoin the EGM, and (ii) authorizing the Receiver to proceed with the EGM once a missing LKM
shareholder (who owns a substantial percentage of LKM’s shares, and who had requested the
Receiver to convene the EGM) had reappeared and was able to attend the EGM. ECF 338, at
13. 3
On September 29, 2022, Shi moved (again) to enjoin the EGM. ECF 361. On October 5, 2022,
the District Court issued an order denying Shi’s motion (again). See ECF 364. 4 Shi did not appeal
those orders nor seek reconsideration. Months later, on March 15, 2023, Shi filed a letter
application seeking to have LKM’s former board reinstated, which was (in effect) a third attempt
to prevent the Receiver from convening the EGM. ECF 401. On April 3, 2023, the District Court
issued an order denying that application. ECF 403. Shi did not appeal that order.

         On May 3, 2023, in a fourth attempt to prevent the EGM from being convened, Shi filed
a letter motion seeking to dissolve the receivership. See ECF 414. The motion was predicated
on false allegations that the Receiver was purportedly selling off LKM’s “valuable intellectual
property” of certain internet domain names, which Shi maintained was supposedly new
information permitting him to renew his motion. Id. Shi’s contentions were meritless; Shi never
provided the Receiver with the credentials to access those domains, and far from being “valuable,”
one of the domains was acquired for less than $1,500 and was being offered for less than $10. See
ECF 416. Accordingly, on May 10, 2023, the District Court denied Shi’s motion. ECF 417.
Shortly thereafter, on May 18, 2023, notice of the EGM was sent to LKM shareholders; the EGM
was scheduled for May 30 and 31, 2023—i.e., starting one business day from today. ECF 418.

The Motion Should Be Denied On Multiple Grounds

       This Court should deny the Motion for the following reasons.




2
  The District Court has ordered that the Receiver will be discharged following the completion
of an accounting; the accounting has not been completed.
3
  A copy of the September 15, 2022 Order (ECF 338) is attached hereto as Exhibit 2.
4
  A copy of the October 5, 2022 Order (ECF 364) is attached hereto as Exhibit 3.
                                                 2
             Case 23-827, Document 15-1, 05/26/2023, 3522066, Page3 of 4




        First, the Motion improperly seeks a stay directly from this Court without having first
requested that relief from the District Court, as required by Federal Rule of Appellate Procedure
8(a)(1). Indeed, Shi misrepresents to this Court that he followed the required procedure: on the
Motion’s Information Statement he maintains that this prerequisite was met, yet on the bottom of
page 12 of his memorandum of law Shi admits that he did not follow proper procedure and is
seeking to be excused because of the “short time frame” between the order being appealed and
the EGM. Mot. at 12. Shi’s misrepresentation notwithstanding, his purported reasons for being
excused from following the required procedure are meritless. The order that is being appealed
was issued on May 10. It is now May 25. Nowhere does Shi even attempt to explain why he
waited over two weeks to seek this relief just days before the EGM. The Court should decline to
entertain the request for this reason alone. See Hirschfeld v. Bd. of Elections in N.Y., 984 F.2d 35,
38 (2d Cir. 1993) (denying stay motion after appellant waited four weeks until “the Wednesday
before the Tuesday” of the event he wished to enjoin to file a stay request); Agudath Israel of Am.
v. Cuomo, 980 F.3d 222, 225 (finding no showing of impracticality where “a full eleven days
elapsed after the district court’s ruling before [appellant] sought relief from this Court.”).

        Moreover, as noted above, this morning (May 26), Shi filed an Order to Show Cause in
the District Court seeking the exact same relief that he is seeking through the Motion. Shi’s
pending Order to Show Cause demonstrates that, in fact, it was not “impracticable” for Shi to first
seek to enjoin the EGMs in the District Court, before coming to the Second Circuit. This Court
should deny the Motion given Shi’s abject failure to comply with FRAP 8(a)(1).

         Second, this Court lacks jurisdiction. Shi asserts that the District Court’s May 10, 2023
Order is appealable under 28 U.S.C. §1292(a)(1) and (a)(2) because it was a purported “refusal”
by the District Court “to modify its Receiver Order.” Mot. at 10. But as noted above, on
September 15, 2022 and October 5, 2022, the District Court twice denied Shi’s requests to enjoin
the EGM. Then on April 3, 2023, the District Court issued an order denying Shi’s March 2023
application to have LKM’s former board reinstated, which was (in effect) yet another attempt to
prevent the Receiver from convening the EGM. Shi did not appeal any of those three orders.
While this Court may hear interlocutory appeals from orders refusing to dissolve injunctions or
wind down receiverships, that is not the case here, where the instant motion is a refiling of three
prior applications in the District Court to enjoin the EGM, all of which were denied, and none of
which were timely appealed. See Gill v. Monroe Cnty. Dep’t of Soc. Servs., 873 F.2d 647, 648
(2d Cir. 1989) (“The instant motion . . . can be construed only as a refiling of the same motion . .
. which had been denied twice before.”). “An appeal from an order denying a successive motion
. . . where the motion is simply the same as the earlier motion, is untimely under Fed. R. App. P.
4(a)(1) unless the notice of appeal was filed within thirty days of the original denial.” Id.
(collecting cases and characterizing successive motions as a “means merely to extend the thirty-
day period for appeal.”).

        Third, Shi fails to allege any cognizable injury to himself, let alone irreparable harm. Shi
claims that LKM directors have “important legal rights and roles under LKM’s corporate
documents.” Mot. at 18. But the “rights” he cites are merely powers delegated by LKM to its
directors. They attach to the position, not to the person. Shi cites no authority for the proposition
that a director who is not also a shareholder has any legal right to maintain the position and retain
the powers that accompany it. Wisdom Import Sales Co., LLC v. Labatt Brewing Co. Ltd., 339

                                                 3
            Case 23-827, Document 15-1, 05/26/2023, 3522066, Page4 of 4




F.3d 101 (2003), cited by Shi (Mot. at 18) concerned a dispute between co-owners of a joint
venture and their ability to select a certain number of directors.

       For all of the foregoing reasons, this Court should deny the Motion.

                                                           Respectfully submitted,

                                                              /s/ Amiad Kushner
                                                                 Amiad Kushner

                                                           Counsel for Robert Seiden in his
                                                           capacity as the Court-appointed
                                                           temporary Receiver over Link
                                                           Motion, Inc.
cc: All Counsel (via ECF)




                                               4
Case 23-827, Document 15-2, 05/26/2023, 3522066, Page1 of 3




        EXHIBIT 1
       CaseCase  23-827, Document Document
            1:18-cv-11642-VM-VF   15-2, 05/26/2023, 3522066,
                                             421 Filed       Page2
                                                       05/26/23    of 31 of 2
                                                                Page




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

WAYNE BALIGA,
                          Plaintiff,

           - against -                                    No. 1:18-cv-11642-VM-DCF

LINK MOTION INC. (F/K/A NQ MOBILE INC.),
VINCENT WENYOUNG SHI, JIA LIAN, XIAO YU,

                          Defendants.


                                   ORDER TO SHOW CAUSE

       Upon the declaration of Michael James Maloney, dated May 26, 2023, and all exhibits

attached thereto, and the accompanying memorandum of law dated May 26, 2023, all documents

referenced therein, and all prior proceedings, it is

       ORDERED that Robert W. Seiden, the court appointed temporary receiver (“Receiver”)

of Link Motion Inc., f/k/a NQ Mobile Inc. (the “Company”), and the Receiver’s agent in China,

Mr. Fancis “Lilin” Guo, show cause before a motion term of this Court at room ___, United States

Courthouse, 500 Pearl Street, in the City, County, and State of New York on

______________________________, 2023 at ___ o’clock in the ______noon thereof, or as soon

thereafter as counsel may be heard, why an order should not be issued pursuant to Federal Rule of

Civil Procedure 65 enjoining the Receiver, Mr. Guo, and all persons acting at their direction or

control from:

       (a) proceeding with any extraordinary general meetings (the “EGMs” and each separately

           an “EGM”) of the shareholders of LKM including but not limited to the EGMs

           noticed for May 30, 2023 and May 31, 2023,

       (b) taking any other corporate action respecting LKM,



                                                  1
        CaseCase  23-827, Document Document
             1:18-cv-11642-VM-VF   15-2, 05/26/2023, 3522066,
                                              421 Filed       Page3
                                                        05/26/23    of 32 of 2
                                                                 Page




        (c) exercising any rights as a shareholder of LKM,

        (d) issuing shares of LKM;

        (e) voting shares of LKM;

        (f) transferring any assets or interests of LKM; and

        (g) failing to preserve assets or interests of LKM,

pending a final determination of the objections to the Receiver’s accounting and his discharge; and

it is further

        ORDERED that, sufficient reason having been shown therefor, pending the hearing of

Dr. Shi’s application for a preliminary injunction pursuant to Federal Rule of Civil Procedure 65,

the EGMs of the Company called for May 30, 2023 and May 31, 2023 are hereby temporarily

enjoined.

        ORDERED that service by email and ECF upon Plaintiff or his counsel and Receiver or

his counsel on or before __________________ shall be deemed good and sufficient service

thereof.

Dated: New York, New York

        __________________, 2023


                                                               United States Magistrate Judge




                                                 2
Case 23-827, Document 15-3, 05/26/2023, 3522066, Page1 of 15




         EXHIBIT 2
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-3, 05/26/2023, 3522066,
                                      338 Filed       Page2
                                                09/15/22    of 15
                                                         Page  1 of 14



UNITED STATES DISTRICT COURT                                      9/15/2022
SOUTHERN DISTRICT OF NEW YORK


 WAYNE BALIGA,
                                                     18 Civ. 11642 (VM)
                         Plaintiff,
                                                     ORDER
                  - against -

 LINK MOTION INC. (f/k/a NQ MOBILE
 INC.), et al.,

                         Defendants.


VICTOR MARRERO, United States District Judge.

      Presently before the Court is a motion by Defendant

Vincent Wenyong Shi (“Shi”) for a preliminary injunction

against     the     court-appointed       receiver,      Robert     Seiden

(“Receiver”), restraining him from convening extraordinary

general meetings (“EGMs”) of the shareholders of Defendant

Link Motion, Inc. (f/k/a/ NQ Mobile Inc.) (“LKM”). (See

“Motion,” Dkt. No. 276-6.)

      On August 25, 2022, the Court issued a Decision and Order

(“D&O”) adopting Magistrate Judge Debra Freeman’s Report and

Recommendation in its entirety. See Baliga v. Link Motion,

Inc., No. 18 Civ. 11642, 2022 WL 3699339 (S.D.N.Y. Aug. 25,

2022) (hereinafter, “D&O”). In the D&O, the Court ordered

that, prior to ruling on Shi’s Motion, the parties should

address whether and to what extent the disappearance of a

major LKM shareholder, Lilin “Francis” Guo (“Guo”) -- who




                                      1
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-3, 05/26/2023, 3522066,
                                      338 Filed       Page3
                                                09/15/22    of 15
                                                         Page  2 of 14



requested the Receiver to convene the EGMs -- renders the

Motion moot. See D&O at *7. The parties’ additional briefing

on the issue is now before the Court, (see “Shi Ltr.,” Dkt.

No. 334; “Receiver Ltr.,” Dkt. No. 335; “Baliga Ltr.,” Dkt.

No. 336), and two issues remain. First, whether the Receiver

maintains the authority to convene the EGMs. Second, whether

the Receiver’s position that the EGMs should not be convened

until Guo can attend renders the Motion moot.

        For the reasons stated below, the Court finds that the

Receiver has authority to convene the EGMs. The Court also

finds that because both Shi and the Receiver agree that the

EGMs should not move forward at this time, Shi’s Motion is

moot.    Finally,    the   Court   orders      that   regardless   of    the

Receiver’s authority to do so, the EGMs shall be postponed

until Guo reappears and can attend the meetings.

                            I.     BACKGROUND

        On February 3, 2022, the Receiver informed the Court

that it had applied to the Grand Court of the Cayman Islands

(“Cayman Court”) to seek authority to convene EGMs. (See Dkt.

No. 268.) On February 23, 2022, the Cayman Court approved the

Receiver’s application and “authorized [the Receiver] to call

an extraordinary general meeting of the shareholders of the

Company for the purpose of putting [] resolutions to the

shareholders”       regarding    the       appointment   and   removal   of


                                       2
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-3, 05/26/2023, 3522066,
                                      338 Filed       Page4
                                                09/15/22    of 15
                                                         Page  3 of 14



certain directors of LKM, including Shi. (“Cayman Order,”

Dkt. No. 271-1 §§ 1.1-1.2.)

       On March 9, 2022, Magistrate Judge Freeman issued a

Report and Recommendation that, in relevant part, recommended

that the Receiver be discharged after an accounting. See

Baliga v. Link Motion Inc., No. 18 Civ. 11642, 2022 WL 2531535

(S.D.N.Y. Mar. 9, 2022) (hereinafter “R&R”). While Magistrate

Judge Freeman explained that a discharge Order “does not mean

that    the    Court      must    require      the    Receiver      to    halt    all

activities       at       once,”     she        offered       two        additional

recommendations. First, she recommended against “Shi be[ing]

reinstated      to     his   prior    positions        of    Chairman       of    the

Board . . . or that any other former Directors of the Company

who    may    have    been      removed   by    the    Receiver      be     ordered

reinstalled.” Id. at *19. Second, she recommended that the

“Receiver be directed not to seek any extraordinary actions

from the Company’s Board, during the remaining period of the

receivership,        as   the    Receiver’s      work,      during       this    time,

should instead be focused on maintaining the Company’s status

quo    and    providing      the   accounting        described       above.”      Id.

at *20.

        On March 15, 2022, Shi moved for an order to show cause

to temporarily enjoin the Receiver from convening EGMs during

which LKM shareholders were to vote on the resolution to


                                          3
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-3, 05/26/2023, 3522066,
                                      338 Filed       Page5
                                                09/15/22    of 15
                                                         Page  4 of 14



remove and appoint directors, including Shi, to LKM’s board.

(See Motion.) Shi requested that the Receiver be restrained

“from holding the EGM until at least (30) days after the

Court’s       decision    on     objections      to     the    Report     &

Recommendation.” (Id. ¶ 38.) On March 16, 2022, the Court

entered an order to show cause temporarily enjoining the

Receiver from convening the EGMs. (See Dkt. No. 277). On March

22,   2022,    the   Receiver    responded     to     Shi’s   Motion,    and

disclosed, for the first time, that Guo had requested that

the Receiver convene the EGMs regarding the appointment and

removal of certain LKM directors. (See Dkt. No. 285.) On April

5, 2022, the Court extended the temporary restraining order

enjoining the Receiver from convening the EGMs until it

entered a ruling on the objections to the R&R. (See Dkt. No.

298.) Then, on June 9, 2022, the Receiver informed the Court

that Guo had disappeared and had been unreachable since April

2022. (See Dkt. No. 309.)

      On August 25, 2022, the Court entered the D&O, adopting

the R&R in its entirety. See D&O, at *1. The Court ordered

the parties to provide additional briefing addressing the

extent to which the disappearance of shareholder Guo impacted

whether the Receiver can convene the EGMs to vote on the

appointment and removal of the LKM directors. See Id. at *7-

8.)


                                     4
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-3, 05/26/2023, 3522066,
                                      338 Filed       Page6
                                                09/15/22    of 15
                                                         Page  5 of 14



      On   September    7    and    8,       2022,   the   parties   submitted

additional briefing. (See Dkt. Nos. 334, 335, 336.) Shi argues

that the EGMs should not be convened because the Cayman Order

that gave the Receiver authority to call the EGMs has expired,

and because the Court terminated the Receiver’s authority to

act on behalf of LKM, except for the limited purposes of

preparing     an   accounting.       (See       generally    Shi     Ltr.)   The

Receiver argues that it maintains the authority to convene

the previously noticed EGMs under the Cayman Order, but that

the EGMs should not move forward unless and until Guo can

attend. (See generally Receiver Ltr.) Plaintiff, Wayne Baliga

(“Baliga”), asserts that Guo’s disappearance has no impact on

the Receiver’s authority to convene the meeting, and adopts

the Receiver’s arguments on this issue. (See Baliga Ltr. at

1.) Unlike Shi and the Receiver, Baliga asserts that the EGMs

should move forward. (Id. at 2.) 1

                            II.    LEGAL STANDARD

      Four factors are required for a preliminary injunction:

(1) likelihood of success on the merits; (2) irreparable harm;

(3) that the balance of hardships tips in the movant’s favor;


1 Baliga requests that the Court “grant the Receiver authority sufficient
to grant U.S. investors the right to convert their ADRs in advance of the
EGM.” (Baliga Ltr. at 2.) The Court has already rejected Baliga’s request
to convert the American Depository Receipts and ordered that the “Receiver
shall take no action regarding the conversion of the American Depository
Receipts in LKM to common stock in LKM,” See D&O at *8. The Court again
rejects the invitation to order conversion of the shares. Id.


                                         5
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-3, 05/26/2023, 3522066,
                                      338 Filed       Page7
                                                09/15/22    of 15
                                                         Page  6 of 14



and (4) that a preliminary injunction serves the public

interest. See Winter v. Nat. Res. Def. Council, Inc., 555

U.S. 7, 20 (2008). However, “[v]oluntary cessation is an

important factor bearing on the question of whether a court

should grant a preliminary injunction or consider the request

moot.” Abbott Labs v. Adelphia Supply USA, No. 15 Civ. 5826,

2015 WL 10906060, at *13 (E.D.N.Y. Nov. 6, 2015) (citing

Holland v. Goord, 758 F.3d 215, 223 (2d Cir. 2014)). The

question    is   whether    the     record     evinces    “some      cognizable

danger of recurrent violation.” Robert Stigwood Grp. Ltd. V.

Hurwitz, 462 F.2d 910, 913 (2d Cir. 1972).

                                III. DISCUSSION

      The questions before the Court are narrow: (1) whether

the   Receiver,        regardless       of   Guo’s     ability    to    attend,

maintains the authority to convene the EGMs; and (2) whether

the Receiver’s position that it will not convene the EGMs

until Guo can attend the meetings renders the Motion moot.

Because the Court finds that the Motion is moot, it does not

address the four preliminary injunction factors.

      A.     THE RECEIVER’S AUTHORITY

      First,     the    Court    must    decide      whether   the     Receiver,

regardless of Guo’s presence, can convene an EGM. The Court

finds that the Receiver has that authority. The Court’s grant

of authority to the Receiver was broad, providing the Receiver


                                         6
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-3, 05/26/2023, 3522066,
                                      338 Filed       Page8
                                                09/15/22    of 15
                                                         Page  7 of 14



with full authority “to do any acts to protect the status quo

of the Company” including “removing, as the Receiver deems

necessary or advisable, any director.” (“Receiver Order,”

Dkt. No. 26 ¶ II.2(b).) While the Court acknowledges that the

Cayman Court did not recognize the Receiver’s power to appoint

or replace a director of LKM (see Dkt. No. 132-1 at 2), the

Cayman Court later provided the Receiver with the explicit

authority     to   convene    the   EGMs    that   would    allow    LKM’s

shareholders to vote on the same (see Cayman Order at §§ 1.1-

1.2). Thus, the Court concludes that the Receiver had the

authority, initially, to issue the notices convening the

EGMs.

        Next, the Court must address whether the Receiver’s

authority to convene the EGMs remains valid. To that end, Shi

argues that under LKM’s corporate by-laws, the Receiver’s

authority to convene the EGMs expired in June 2022. Shi argues

the Receiver’s authority expired because Guo requested that

the Receiver convene the meetings, and the by-laws require

that an EGM requisitioned by a shareholder be held within

three months’ time; Shi says that time has since passed. (See

Shi Ltr. at 1 (citing “LKM By-laws,” Dkt. No. 130-3 ¶ 55(d)).)

The Receiver counters the time-bar has no effect because it

applies only to EGM’s called upon a shareholder requisition

to LKM’s directors, which did not occur here. (See Receiver


                                     7
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-3, 05/26/2023, 3522066,
                                      338 Filed       Page9
                                                09/15/22    of 15
                                                         Page  8 of 14



Ltr. at 2 n.2.) The Court is persuaded that the time-bar does

not apply.

      The   LKM    By-laws    establish    two   different      paths      for

calling an EGM. 2 First, “[t]he Directors may call general

meetings” on their own accord. (LKM By-laws ¶ 55.) Second,

the Directors also “shall on a Members requisition forthwith

proceed to convene an extraordinary general meeting of the

Company.” (Id.) After a “Members requisition,” the Directors

are allowed “21 calendar days from the date of the deposit of

the requisition” to convene the EGM, and that EGM must be

“held within a further 21 calendar days.” (Id. ¶ 55(d).) After

the second 21-day period passes, the requisitioning parties

may themselves convene a general meeting” and that meeting

must be convened within “three months,” from the end of the

second    21-day    period.    (Id.)     The   Court   agrees    with      the

Receiver’s assertion that no such temporal limitation is

implicated when a Director calls for a general meeting. The

provision    of    two   different     means   for   calling    an   EGM    is

bolstered by the LKM By-laws, which also require that any EGM

convened by the requisitioning parties must be convened “in




2 The by-laws use the terms “general meeting” and “extraordinary general
meeting” interchangeably. (See Dkt. No. 130-3 ¶ 53 (“All general meetings
of the Company other than annual general meetings shall be called
extraordinary general meetings.”).)


                                     8
CaseCase 23-827, Document 15-3,
     1:18-cv-11642-VM-VF        05/26/2023,
                          Document          3522066,
                                     338 Filed       Page10
                                               09/15/22     of 9
                                                         Page  15of 14




the same manner as nearly as possible as that in which general

meetings are to be convened by Directors.” (Id.)

      In its response to the Motion, the Receiver notified

this Court and, previously, the Cayman Court, that Guo was

“unable to requisition an extraordinary general meeting.”

(See Dkt. No. 285 at 5; Dkt. No. 285-3 ¶¶ 15-17.) The parties

do not dispute that point here. As such, any EGM that the

Receiver sought to convene following Guo’s request is not

made “on a Members requisition,” and is thus more akin to a

Director calling the meeting, meaning the temporal aspects of

paragraph     55(d)    of   the   LKM     By-laws   would    not     apply.

Accordingly, the Court finds that the Receiver’s authority to

convene the EGMs is not subject to the time limitations of

paragraph 55(d) of the LKM By-laws.

      Next, the Court addresses whether Guo must be present at

the meeting. Nothing in the parties’ briefing, the LKM By-

laws, or the Cayman Order indicates that Guo’s attendance is

necessary to convene the EGMs. The Receiver indicates only

that Guo’s attendance is preferred. (See Receiver Ltr. at 3.)

The Court finds that the EGMs could move forward without Guo.

      Finally, the Court finds that the Court’s adoption of

the   R&R,    which    discharges       the   Receiver   upon    a   final

accounting, does not nullify the Receiver’s ability to call

the EGMs. In the D&O, the Court enumerated Magistrate Judge


                                     9
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-3, 05/26/2023, 3522066,
                                      338 Filed       Page11
                                                09/15/22 Pageof10
                                                                15of 14




 Freeman’s    “overarching      recommendations,”       which   it   would

 adopt. See D&O, at *3. One of those recommendations was to

 “direct that the Receiver not be required to unwind any

 activities that have already been taken on the Company’s

 behalf, but, at the same time, direct that the Receiver not

 seek any extraordinary actions from the Company’s Board,

 during the remaining period of the receivership.” Id. This

 provision looks backwards, to activities the Receiver has

 already undertaken, and forward, asking the Receiver to focus

 its efforts on the accounting.

       By the time Magistrate Judge Freeman had issued the R&R

 on March 9, 2022, the Receiver had already set in motion its

 plan to convene the EGMs. First, the Receiver had already put

 the Court on notice of its intent to seek from the Cayman

 Court the authority to convene the EGMs. (See Dkt. No. 268,

 dated February 3, 2022.) Second, the Receiver had already

 been granted the authority to notice the EGMs via the Cayman

 Order. (See Cayman Order, dated February 23, 2022) And third,

 the   Receiver    had    already    issued    the   notices    to   LKM’s

 shareholders regarding the resolutions to appoint and remove

 certain LKM directors that would be addressed at the EGMs.

 (See Dkts. Nos. 276-2, 276-3, both dated March 4, 2022.)

 Because the Receiver’s attempts to convene the EGMs were

 already underway prior to the time the R&R was issued, the


                                     10
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-3, 05/26/2023, 3522066,
                                      338 Filed       Page12
                                                09/15/22 Pageof11
                                                                15of 14




 Court finds its adoption of the R&R (which does not require

 the Receiver to unwind actions already taken (see D&O, at

 *3)) allows the Receiver to maintain its authority to convene

 the EGM’s until the Receiver is discharged, after providing

 its full and final accounting. And the Receiver maintains the

 authority to convene the EGMs regardless of Guo’s attendance.

       B.    SHI’S MOTION

       With the Receiver’s authority settled, the Court must

 now decide whether Shi’s Motion to enjoin the EGMs from being

 convened is moot. Although the Court finds the Receiver

 maintains the authority to convene the EGMs, the Receiver has

 affirmed it will not do so until Guo can be located. The

 Receiver’s position on behalf of himself thus moots Shi’s

 Motion. The issue Shi complains of is also not likely to recur

 in the near future because the Court also orders that the

 EGMs shall be postponed unless and until Guo reappears and

 can attend, ensuring that the Receiver maintains its position

 on when the EGMs can be convened.

       Shi’s Motion is temporally limited. Shi requested that

 the Receiver be restrained “from holding the EGM until at

 least (30) days after the Court’s decision on objections to

 the Report & Recommendation.” (Dkt. No. 276-1 ¶ 38.). The

 Court issued that decision, the D&O, on August 25, 2022,

 meaning that Shi’s Motion requests that the EGMs not be


                                     11
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-3, 05/26/2023, 3522066,
                                      338 Filed       Page13
                                                09/15/22 Pageof12
                                                                15of 14




 convened     before    at    least      September       24,    2022,       which   is

 imminently approaching.

        Further, Shi and the Receiver agree that the EGMs should

 not be convened in the immediate future, albeit for different

 reasons. Shi argues the EGMs should not be convened due to

 the    Receiver’s     lack       of    authority,      arguments          the   Court

 disposes of above. (See Shi Ltr. at 1-2.) The Receiver argues

 that if Guo (who has forty percent of the vote) cannot attend

 the EGMs the shareholders’ ability to pass the resolutions

 regarding the appointment or removal of the certain directors

 is impacted, and that holding the EGMs without Guo could also

 lead   to    conflicts      of   interest      should    Shi       (who    would   be

 considered for removal) preside over the EGM. (Receiver Ltr.

 at 3.)

        Despite   the     difference           in    reasons,       the    Court    is

 persuaded that the agreement between Shi and the Receiver

 that   the    EGMs    should     not    move       forward    at   this     time   is

 sufficient to moot the issue. According to the Receiver, Guo

 has been unreachable since April 2022. The Court finds that

 it is unlikely that Guo will reappear in the short term such

 that the EGMs could be convened within 30 days of the entry

 of the D&O (i.e., September, 24, 2022). Because no EGM will

 be held within this time period, Shi’s Motion to enjoin the

 Receiver from convening the EGMs is moot.


                                          12
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-3, 05/26/2023, 3522066,
                                      338 Filed       Page14
                                                09/15/22 Pageof13
                                                                15of 14




                                   IV.    ORDER

 For the reasons stated above, it is hereby

       ORDERED that Defendant Wenyong Shi’s Motion to enjoin

 the Receiver from convening extraordinary general meetings of

 the Link Motion, Inc. shareholders to vote on resolutions to

 remove and appoint directors of the Link Motion, Inc. board

 (Dkt. No. 276) is DENIED AS MOOT; and it is further

       ORDERED that the extraordinary general meetings sought

 to be convened by Robert W. Seiden (“Receiver”) shall be

 postponed until Lilin “Francis” Guo (“Guo”) can attend the

 meetings, provided that Guo reappears prior to the full

 discharge     of   the     Receiver’s        authority,     following    its

 provision     of   a    full   accounting        of   the     receivership’s

 activities; and it is further

       ORDERED that within seven (7) days of the date of this

 order, the parties and the Receiver shall file separate

 letters,    not    to    exceed    three     pages,    that    address   the

 following: (1) whether the LKM Board’s decision to meet in

 early September 2022 violates any of the Court’s orders in

 this matter; and (2) the extent of the Court’s jurisdiction

 to address (a) any purported violations of the Court’s orders

 by the LKM Board and (b) the LKM Board’s ability to meet.




                                         13
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-3, 05/26/2023, 3522066,
                                      338 Filed       Page15
                                                09/15/22 Pageof14
                                                                15of 14



 SO ORDERED.



 Dated:      September 15, 2022
             New York, New York



                                              _________________________
                                                   Victor Marrero
                                                      U.S.D.J.




                                     14
Case 23-827, Document 15-4, 05/26/2023, 3522066, Page1 of 16




         EXHIBIT 3
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-4, 05/26/2023, 3522066,
                                      364 Filed       Page2
                                                10/05/22    of 16
                                                         Page  1 of 15



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                         10/5/2022

 WAYNE BALIGA,
                                                     18 Civ. 11642 (VM)
                         Plaintiff,
                                                     ORDER
                  - against -

 LINK MOTION, INC. et al.,

                         Defendants.


VICTOR MARRERO, United States District Judge.

        Presently before the Court is a proposed Order to Show

Cause (“OSC”) by defendants Link Motion, Inc. (“LKM”) and

Vincent Wenyong Shi (“Shi”) (together “Defendants”) against

the court-appointed receiver, Robert Seiden (“Receiver”),

seeking — again — to enjoin the Receiver from convening

certain extraordinary general meetings (“EGMs”) of the LKM

shareholders. (See Dkt. No. 361 & “OSC Motion,” Dkt. No. 361-

4.)

        The OSC Motion seeks emergency relief and requests that

the Court immediately enjoin the Receiver from convening the

EGMs. It also moves the Court under Federal Rule of Civil

Procedure 60(b) to reconsider its September 15, 2022 order.

(See “September 15 Order,” Dkt. No. 338.) The September 15

Order    denied   as   moot   Defendants’     previous       motion   for   a

preliminary injunction seeking to restrain the Receiver and

ordered that the Receiver could not convene the EGMs unless



                                      1
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-4, 05/26/2023, 3522066,
                                      364 Filed       Page3
                                                10/05/22    of 16
                                                         Page  2 of 15



and until Lilin “Francis” Guo (“Guo”) (a major LKM shareholder

who has disappeared) could attend. The September 15 Order

concluded that the issue was moot because both Defendants and

the Receiver agreed that the EGMs could not move forward in

the short term. (See September 15 Order at 12.) Because the

Court concluded that the issue was moot, it declined to assess

the four preliminary injunction considerations (see September

15 Order at 6) but, because the parties also separately

disputed the Receiver’s general authority to convene the

EGMs, the Court assessed the propriety of those claims and

ruled on the issue.

        Defendants now contend that “newly discovered evidence”

— including the Receiver’s notice to the Court that Guo would

reappear “in the next 30-60 days” and certain letters the

Receiver recently filed unsealed, (see Dkt. Nos. 340-348,

351.) — makes the dispute a live controversy and asks the

Court    to    reconsider   three   issues:      (1)   whether    the    four

preliminary injunction considerations weigh in Defendants’

favor; (2) whether the Receiver retains the authority to

convene the EGMs; and (3) whether the time to convene the

EGMs     has    expired     under   the    LKM    by-laws.       Defendants

alternatively renew their request to restrain the Receiver

from convening the EGMs. The Court is not persuaded that

Defendants are entitled to the requested relief and reaffirms


                                     2
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-4, 05/26/2023, 3522066,
                                      364 Filed       Page4
                                                10/05/22    of 16
                                                         Page  3 of 15



its conclusions from the September 15 Order. The Court DENIES

Defendants’ requests.

                          I.     LEGAL STANDARD

      The    OSC    Motion       is,    at      bottom,        a     motion      for

reconsideration under Federal Rule of Civil Procedure 60(b)

and Local Civil Rule 6.3, which is “intended to ‘ensure the

finality of decisions and to prevent the practice of a losing

party examining a decision and then plugging the gaps of a

lost motion with additional matters.’” SEC v. Ashbury Capital

Partners, L.P., No. 00 Civ. 7898, 2001 WL 604044, at *1

(S.D.N.Y. May 31, 2001) (quoting Carolco Pictures, Inc. v.

Sirota, 700 F. Supp. 169, 170 (S.D.N.Y. 1988)). When assessing

a motion for reconsideration, a district court must “narrowly

construe and apply” Local Rule 6.3 to “avoid duplicative

rulings on previously considered issues” and to prevent the

rule from being used to advance theories not previously argued

or as “a substitute for appealing a final judgment.” Montanile

v. Nat’l Broad. Co., 216 F. Supp. 2d 341, 342 (S.D.N.Y. 2002);

see also Shamis v. Ambassador Factors Corp., 187 F.R.D. 148,

151 (S.D.N.Y. 1999).

      Reconsideration       is    “an       extraordinary          remedy   to    be

employed     sparingly     in    the        interests     of       finality      and

conservation of scarce judicial resources.” In re Health

Mgmt. Sys., Inc. Sec. Litig., 113 F. Supp. 2d 613, 614


                                        3
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-4, 05/26/2023, 3522066,
                                      364 Filed       Page5
                                                10/05/22    of 16
                                                         Page  4 of 15



(S.D.N.Y. 2000). Accordingly, the Second Circuit has held

that the standard for granting a motion to reconsider “is

strict, and reconsideration will generally be denied unless

the moving party can point to controlling decisions or data

that the court overlooked — matters, in other words, that

might reasonably be expected to alter the conclusion reached

by the court.” Shrader v. CSX Transp., Inc., 70 F.3d 255, 257

(2d Cir. 1995). “The major grounds justifying reconsideration

are     ‘an      intervening        change         of   controlling       law,     the

availability of new evidence, or the need to correct a clear

error or prevent manifest injustice.’” Virgin Atl. Airways,

Ltd. V. Nat’l Mediation Bd., 956 F.2d 1245, 1255 (2d Cir.

1992) (citation omitted). “[A] motion to reconsider should

not   be      granted    where      the      moving     party    seeks    solely    to

relitigate an issue already decided.” Shrader, 70 F.3d at

257; see also Analytical Surveys, Inc. v. Tonga Partners,

L.P.,      684    F.3d      36,     52       (2d   Cir.    2012)       (noting   that

reconsideration          “is      not    a    vehicle     for    relitigating      old

issues, presenting the case under new theories, securing a

rehearing on the merits, or otherwise taking a second bite at

the apple” (internal quotation marks omitted)).

        The      decision      to       grant      or     deny     a    motion     for

reconsideration rests within “the sound discretion of the

district court.” Aczel v. Labonia, 584 F.3d 52, 61 (2d Cir.


                                              4
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-4, 05/26/2023, 3522066,
                                      364 Filed       Page6
                                                10/05/22    of 16
                                                         Page  5 of 15



2009) (quoting Nemaizer v. Baker, 793 F.2d 58, 61-62 (2d Cir.

1986)).

                               II.    DISCUSSION

        A.     DEFENDANTS’ REQUEST FOR AN INJUNCTION

        Defendants urge the Court to reconsider its previous

denial of the preliminary injunction and seek a new temporary

restraining order (“TRO”) and preliminary injunction barring

the Receiver from convening the EGMs. The Court handles the

dual requests as one.

        “It is well established in this Circuit that the standard

for   entry     of   a   TRO   is    the    same   as   for   a   preliminary

injunction.” Andino v. Fischer, 555 F. Supp. 2d 418, 419

(S.D.N.Y.       2008).    Generally,        to     obtain     a   preliminary

injunction,      a   movant    must    demonstrate      (1)   likelihood    of

success on the merits; (2) irreparable harm; (3) that the

balance of hardships tips in the movant’s favor; and (4) that

a preliminary injunction serves the public interest. See

Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).

        As to the first consideration, Defendants argue that

they are likely to succeed on the merits because, in its

August 25, 2022 Decision and Order adopting Magistrate Judge

Freeman’s Report and Recommendation (see “D&O,” Dkt. No.

331),    the    Court    approved     the    eventual    discharge    of   the

Receiver, “[t]hus, the power of the Receiver must [] be


                                        5
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-4, 05/26/2023, 3522066,
                                      364 Filed       Page7
                                                10/05/22    of 16
                                                         Page  6 of 15



terminated.” (See OSC Motion at 12.) The Court disagrees. As

explained in the September 15 Order, and reaffirmed here, the

Court’s D&O did “not nullify the Receiver’s ability to call

the EGMs” because the Receiver was not “required to unwind

any activities that have already been taken on the Company’s

behalf.” (September 15 Order at 9-10.) The Receiver maintains

its authority, which the Cayman Court granted, until it is

fully discharged upon this Court’s approval of its final

accounting,     which    has       not   occurred.   (See   Dkt.   No.   359

(ordering schedule for approval of accounting).) Thus, and as

explained in more detail below, the Receiver can convene the

EGMs, but may not do so until Guo reappears and can attend.

As a result, Defendants have not established they would

succeed on the merits and the first preliminary injunction

consideration does not weigh in their favor.

      The second consideration is irreparable harm. “A showing

of irreparable harm is the single most important prerequisite

for   the   issuance    of     a   preliminary   injunction.”      Faiveley

Transport Mahno AB v. Wabtec Corp., 559 F.3d 110, 116 (2d

Cir. 2009). “The movant must demonstrate an injury that is

neither remote nor speculative, but actual and imminent.”

Shapiro v. Cadman Towers, Inc., 51 F.3d 328, 332 (2d Cir.

1995).




                                         6
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-4, 05/26/2023, 3522066,
                                      364 Filed       Page8
                                                10/05/22    of 16
                                                         Page  7 of 15



      Here, Defendants argue that “[i]f the EGMs are allowed

to go forward as drafted, the Original Investors will suffer

irreparable harm,” thus the Court should “enjoin the EGMs to

protect    the     Original      Investors.”    (OSC   Motion    at      12.)

Defendants       define    the    Original     Investors    as   the     “26

registered shareholders of [LKM].” (OSC Motion at 2 (citing

Dkt. No. 130-1).) LKM and Shi are not among the Original

Investors, and none of the Original Investors are parties to

this action. 1 (See Dkt. No. 130-1.) An “alleged harm to third

parties    d[oes]    not    provide    [Defendants]     a   basis     for   a

preliminary injunction.” See Moore v. Consolidated Edison Co.

of N.Y., Inc., 409 F.3d 506, 512 (2d Cir. 2005). Other than

on behalf of the Original Investors, Defendants do not claim

that they themselves would be irreparably harmed by the EGMs

moving forward. Thus, the Court finds that Defendants fail to

establish irreparable harm on that ground alone.

      But even if the Court ignored that fatal defect, the

purported injury Defendants insist the Original Investors

face must also be actual and imminent. Here, the harm is both

speculative and remote. Defendants claim that the Receiver

and Guo “expropriated 40% of the total voting power” through

a Note Agreement that Defendants allege “likely violates New


1 The Court previously denied a motion to intervene by Original Investor,
China AI Capital Limited. (See Dkt. No. 163.)



                                      7
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-4, 05/26/2023, 3522066,
                                      364 Filed       Page9
                                                10/05/22    of 16
                                                         Page  8 of 15



York’s usury laws.” 2 (OSC Motion at 12-13.) Yet, Defendants

concede     that    there     is   “no     evidence”     regarding       the

consideration that Guo paid, save for, potentially, the Note

Agreement that remains under seal. 3

      The harm that Defendants identify — that “the Original

Investors will be unable to exercise the voting power they

had before the appointment” of Guo at the EGMs (OSC Motion at

13) — depends, first, on Guo having obtained his voting power

inappropriately, and second, a lack of consensus between Guo

and the Original Investors on the composition of the LKM

Board.     Defendants       must   march     through     a    parade      of

hypotheticals to establish this purported harm, revealing

that it is speculative. First, the Note Agreement must be

unsealed. Next, it must show what Defendants claim it shows,

that Guo did not pay fair consideration for his shares. Then,

a court would have to consider whether that violated New York

usury laws. If all of that were true, then it is possible

that convening the EGMs could harm the Original Investors.

But that, too, is a red herring. For even if Guo’s voting

power was obtained inappropriately, there is nothing in the



2 The Court previously reviewed and approved the compensation incentive
agreement and promissory note that Defendants now claim is usurious. (See
Dkt. No. 71.)
3 Defendants have moved the Magistrate Court to unseal the Note Agreement
and the dispute is currently pending. (See Dkt. No. 360.)



                                     8
CaseCase 23-827, Document 15-4,
     1:18-cv-11642-VM-VF        05/26/2023,
                          Document          3522066,
                                     364 Filed       Page10
                                               10/05/22     of 9
                                                         Page  16of 15




record establishing how all the Original Investors may vote.

Indeed, they may very well agree with Guo. And, if all the

Original Investors did disagree, and Guo retained his voting

power, it is also certainly plausible the Original Investors

could coalesce and overpower Guo, who, with only 40 percent

of    the   vote,    appears    to      lack    the    power     to    ratify   any

resolution     by    himself.      In    either       setting,    the    Original

Investors incur no harm. And neither is certain to occur: how

the EGMs would play out, and what the Original Investors would

do is not presented to the Court. Defendants thus fail to

establish the purported harm is actual.

       The purported harm is also not imminent. The Receiver

does not know for certain when, exactly, Guo will reappear.

The     Receiver’s        letter     states       that     an         unidentified

“Individual . . . believes Mr. Guo is in Hainan and will

reappear in the next 30-60 days” but also that “Mr. Guo’s

reappearance        may   be   delayed         because    of     current    Covid

lockdowns in Hainan.” (Dkt. No. 351 at 1.) The Receiver

further expressed hesitation as to the “authenticity of the

Individual’s statements and the documents provided.” (Id.) 4



4 On October 4, 2022, after Defendants filed the OSC Motion, the Receiver
provided an update from the unidentified “Individual” indicating that
“Guo is now estimated to re-appear by the end of October 2022,” which
falls within the initial time range the Receiver provided. (Dkt. No. 363.)
The Receiver continues to express hesitation as to the “veracity of the
Individual’s statement.” (Id.)


                                         9
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-4, 05/26/2023, 3522066,
                                      364 Filed       Page11
                                                10/05/22 Pageof10
                                                                16of 15




 The September 15 Order makes clear that the EGMs “shall be

 postponed until [Guo] can attend the meetings.” (September 15

 Order at 13.) Consequently, when Guo will reappear remains

 hazy at best, rendering any purported injury remote.

       The remaining considerations, both of which are neutral,

 do not outweigh the first two. The Court finds that the

 balance of the hardships favors neither party. While the

 Receiver’s authority to take new actions has been limited,

 the notice of the EGMs was made by the Receiver prior to the

 Court’s report and recommendation and D&O, and the Receiver

 is not required to unwind those activities. Defendants do not

 allege they would incur a hardship, and any hardship to the

 Original Investors is speculative. And finally, as stated,

 what harm the Original Investors may suffer is abstract, and

 thus the Court finds that the last consideration (whether the

 injunction     is    in     the     public    interest)      is   neutral.

 Accordingly,     the      Court   denies     Defendants’     request     for

 reconsideration      and    their     new    request   for    a   TRO    and

 preliminary injunction.

       B.     THE RECEIVER’S AUTHORITY

       Defendants also argue that the Court should reconsider

 its conclusions as to (1) the Receiver’s authority to convene

 the EGMs; and (2) the timeline on which the EGMs must be

 convened. On these issues, Defendants aver that the Court


                                      10
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-4, 05/26/2023, 3522066,
                                      364 Filed       Page12
                                                10/05/22 Pageof11
                                                                16of 15




 issued   an   advisory     opinion      in    the   September   15   Order.

 Defendants say that because the Court determined that the

 preliminary injunction was moot, the issue of the Receiver’s

 authority was not “an ‘issue ripe for judicial resolution,’

 [because]     the     arguments    regarding        authority    and     the

 application      of    Article     55        were   ‘mere   hypothetical

 question[s]’ about what would happen if Guo reappeared.” (See

 OSC Motion at 15.) Not so. First, the Receiver’s authority to

 convene the EGMs was a separate issue from whether the EGMs

 should move forward. The Court’s finding of mootness was

 limited to the parties’ agreement that the EGMs could not

 move forward in the short term. (See September 15 Order at

 12.) The parties vigorously disputed the Receiver’s authority

 under the Cayman Court’s order and the Company’s by-laws,

 making that issue a live controversy and thus appropriate for

 the Court to address.

       Second, an issue “is not moot if the underlying dispute

 between the two parties is ‘capable of repetition, yet evading

 review.’” See Irish Lesbian and Gay Org. v. Giuliani, 143

 F.3d 638, 648 (2d Cir. 1998) (quoting Neb. Press Ass’n v.

 Stuart, 427 U.S. 539, 546 (1976)). The September 15 Order

 established that the issue of the Receiver’s authority to

 convene the EGMs was likely to recur; indeed, the Court

 ordered that the EGMs could eventually move forward if Guo


                                      11
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-4, 05/26/2023, 3522066,
                                      364 Filed       Page13
                                                10/05/22 Pageof12
                                                                16of 15




 reappeared. (See September 15 Order at 13.) And Defendants’

 filing of the OSC Motion proves that the dispute was likely

 to   recur     and     thus     is    now,     as    it     was   before,    a

 “live . . . controversy” ripe for judicial review. Id. Thus,

 it was proper for the Court to address the issue in the

 September 15 Order.

       The    Court    reached       the    correct   conclusions     in     the

 September     15     Order    and    Defendants      fail    to   “point    to

 controlling decisions or data that the court overlooked” that

 would “alter the conclusion[s] reached.” Shrader, 70 F.3d at

 257. Thus, the Court reaffirms its decisions here. Indeed,

 Defendants’ OSC Motion rehashes many of the same arguments

 regarding the effect of the D&O on the Receiver’s authority

 that the Court previously considered and rejected. (See OSC

 Motion at 15-19.) Defendants argue that the Receiver lacks

 authority to convene the EGMs. They contend that the Cayman

 Court order granting that authority was issued prior to the

 Court’s D&O discharging the Receiver upon completion of its

 accounting such that the Receiver’s authority is terminated.

 (Id. at 15-17.) As explained above and in the September 15

 Order, the D&O did not require the Receiver to “unwind any

 activities that have already been taken on the Company’s

 behalf.” (September 15 Order at 10 (quoting D&O at 7).) And

 the Receiver had already taken action to convene the EGMs


                                           12
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-4, 05/26/2023, 3522066,
                                      364 Filed       Page14
                                                10/05/22 Pageof13
                                                                16of 15




 before either the Report and Recommendation or D&O were

 entered. Accordingly, the Court reaffirms its finding that

 the Receiver maintains its authority, until fully discharged

 after its accounting, to convene the EGMs.

         Defendants also rehash their argument that the time to

 convene the EGMs has expired under Article 55(d) of the LKM

 by-laws. (See OSC Motion at 18-19; see also “LKM By-Laws,”

 Dkt. No. 130-3.) Defendants argue that the “facts here fall

 under    the   ‘requisition’     provision    of   Article     55   of   the

 Company’s governing documents” because “it was Guo — acting

 as a shareholder — who requested the EGMs.” (Id.) The Court

 remains unpersuaded.

         As recognized in the September 15 Order (and which

 remains unrebutted here), the Receiver informed this Court

 and the Cayman Court that “Guo [is] ‘unable to requisition an

 extraordinary general meeting.’” (September 15 Order at 9

 (citation      omitted).)   Defendants     nevertheless       continue    to

 contend that the EGMs are transformed into a requisitioned

 meeting because the Receiver was “acting at the request of

 Guo.” (OSC Motion at 18.) A mere request to the Receiver by

 Guo, without more, does not satisfy Article 55’s formalities,

 and Defendants’ argument fails.

         To   qualify   as   an   EGM     called    upon   a   shareholder

 requisition, the requisitioning member(s) must hold “at the


                                     13
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-4, 05/26/2023, 3522066,
                                      364 Filed       Page15
                                                10/05/22 Pageof14
                                                                16of 15




 date of the deposit of the requisition not less than one-

 third in par value of the share capital of the Company.” (LKM

 By-Laws ¶ 55(b).) It is not disputed that Guo holds only

 “approximately 13% of the par value of all issued shares” and

 thus cannot requisition the meeting by himself. (Dkt. No.

 285-3     ¶   17.4.)   Thus,    Guo’s     request   was   not   a   formal

 requisition and the time limits of Article 55(d) do not apply.

 The Court thus reaffirms its conclusions in the September 15

 Order as to the Receiver’s authority to convene the EGMs and

 the timeline on which they may be convened.

                                 III. ORDER

 For the reasons stated above, it is hereby

         ORDERED that the defendants’, Link Motion, Inc. and

 Wenyong Shi (together “Defendants”), proposed Order to Show

 Cause is DENIED; and it is further

         ORDERED that Defendants’ renewed request for a temporary

 restraining order and preliminary injunction is DENIED; and

 it is further

         ORDERED that Robert Seiden (“Receiver”) maintains the

 authority     to   convene     the   extraordinary    general    meetings

 (“EGMs”) and may do so provided that Lilin “Francis” Guo

 (“Guo”) reappears and is able to attend the EGMs, and that

 the EGMs are convened prior to the Court’s approval of the




                                      14
CaseCase  23-827, Document Document
     1:18-cv-11642-VM-VF   15-4, 05/26/2023, 3522066,
                                      364 Filed       Page16
                                                10/05/22 Pageof15
                                                                16of 15




 Receiver’s     accounting,     which     results   in   the   Receiver’s

 discharge.


 SO ORDERED.

 Dated:       October 5, 2022
              New York, New York



                                              _________________________
                                                   Victor Marrero
                                                      U.S.D.J.




                                     15
